
PER CURIAM.
Affirmed. See Johnson v. State, 60 So.3d 1045 (Fla. 2011) (holding under Florida Rule of Criminal Procedure 3.800(a), authorizing a trial court to correct an illegal sentence, burden is on defendant to demonstrate an entitlement to relief on the face of the record; State has no burden to establish defendant is not entitled to relief); Cox v. State, 221 So.3d 723 (Fla. 3d DCA 2017) (same). See also Bryant v. State, 240 So.3d 55 (Fla. 3d DCA 2018) (holding Florida Rule of Criminal Procedure 3.801 is the exclusive method for seeking a correction of jail credit, and a motion seeking such relief may not be considered if filed more than one year after the sentence becomes final).
